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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


   DONALD J. TRUMP FOR
   PRESIDENT, INC., REPUBLICAN
   NATIONAL COMMITTEE, NEW               DOCKET NO. 3:20-cv-10753
   JERSEY REPUBLICAN STATE
   COMMITTEE,

        Plaintiffs,
                                          CERTIFICATION OF SERVICE
   v.
                                           (ELECTRONICALLY FILED)
   PHILIP D. MURPHY, in his official
   capacity as Governor of New Jersey,
   TAHESHA WAY, in her official
   capacity as Secretary of State of
   New Jersey,

        Defendants.
Case 3:20-cv-10753-MAS-ZNQ Document 82-2 Filed 10/12/20 Page 2 of 2 PageID: 2573




                          CERTIFICATION OF SERVICE

  I hereby certify that on October 12, 2020, Amicus Curiae Atlantic County Democratic
  Committee’s Brief in Support of Intervenor-Defendant DCCC’s Order to Show Cause
  and this Certification of Service were electronically filed with the Clerk of the United
  States District Court and that a copy of these documents has been served via ECF on
  the following:

                                 All Counsel of Record.




  Date: October 12, 2020                  By:    /s/ Robert D. Herman

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